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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

    PURDUE PHARMA L.P., et al.              )
                                            )
                      Plaintiffs,           )
          V.                                )   C.A. No. 17-210 (RGA)
                                       )        CONSOLIDATED
    AMNEAL PHARMACEUTICALS LLC, et al. )
                                       )
                 Defendants.           )
    PURDUE PHARMA L.P .,                  )
    PURDUE PHARMACEUTICALS L.P .,         )
    and GRUNENTHAL GMBH,                  )
                                          )
                 Plaintiffs/Counterclaim- )
                 Defendants,              )     C.A. No. 17-1421 (RGA)
        V.                                )
                                          )
    AMNEAL PHARMACEUTICALS, LLC,          )
                                          )
                 Defendant/Counterclaim )
                 -Plaintiff.              )
    PURDUE PHARMA L.P., and PURDUE          )
    PHARMACEUTICALS L.P.,                   )
                                            )
                      Plaintiffs,           )
          v.                                )
                                            )   C.A. No. 18-51 (RGA)
    AMNEAL PHARMACEUTICALS, LLC,            )
                                            )
                      Defendant.            )
                                            )
    PURDUE PHARMA L.P ., and PURDUE         )
    PHARMACEUTICALS L.P.,                   )
                                            )
                   Plaintiffs/Counterclaim- )
                   Defendants,              )   C.A. No. 18-52 (RGA)
         V.                                 )
                                            )
    KASHIV PHARMA, LLC,                     )
                                            )
                   Defendant/Counterclaim )
                   -Plaintiff.              )
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                            STIPULATED DISMISSAL
                                    BETWEEN
                             PURDUE PHARMA L.P.,
                          THE P.F. LABORATORIES, INC.,
                        PURDUE PHARMACEUTICALS L.P.,
                   RHODES TECHNOLOGIES, GRUNENTHAL GMBH,
                       AMNEAL PHARMACEUTICALS LLC,
                           AND KASHIV PHARMA, LLC

                On consent of Purdue Pharma L.P., The P.F. Laboratories, Inc., Purdue

Pharmaceuticals L.P., Rhodes Technologies, Gri.inenthal GmbH; Amneal Pharmaceuticals LLC,

and Kashiv Pharma, LLC, and as settlement of this action between and among those parties,

PURDUE PHARMA L.P., a limited partnership organized and existing under the laws of the

State of Delaware, having a place of business at One Stamford Forum, 201 Tresser Boulevard,

Stamford, Connecticut 06901, THE P.F. LABORATORIES, INC., a corporation organized and

existing under the laws of the State of New Jersey, having a place of business at One Stamford

Forum,    201      Tress er    Boulevard,    Stamford,         Connecticut    06901,    PURDUE

PHARMACEUTICALS L.P., a limited partnership organized and existing under the laws of the

State of Delaware, having a place of business at 4701 Purdue Drive, Wilson, North Carolina

27893, RHODES TECHNOLOGIES, a general partnership organized and existing under the

laws of the State of Delaware, having a place of business at 498 Washington Street, Coventry,

Rhode Island 02816, and GRUNENTHAL GMBH, a company organized under the laws of the

Federal Republic of Germany, with its registered office at Zieglerstrasse 6, 52078 Aachen,

Federal   Republic    of      Germany   (collectively,   the     "Plaintiffs");   and   AMNEAL

PHARMACEUTICALS LLC, a limited liability company organized and existing under the laws

of the State of Delaware, having a place of business at 400 Crossing Boulevard, Bridgewater,

New Jersey 08807 and KASHIV PHARMA, LLC, a limited liability company organized and

existing under the laws of the State of Delaware, having a place of business at 995 US· 202/206,
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    Bridgewater, New Jersey 08807 (collectively, the "Defendants") (the Plaintiffs and the

    Defendants being sometimes referred to herein individually as a "Party" and collectively as the

    "Parties"), it is Ordered, Adjudged and Decreed as follows:

                    1.      The Parties agree that Civil Action No. 17-210-RGA (Cons.) (the

    "Action"), including all counterclaims, is dismissed with prejudice.

                   2.       No right, written or oral license or sublicense, covenant not to sue, waiver

    or release or other written or oral authorization is or has been granted or implied by this

    Stipulated Dismissal.

                   3.       The Action is hereby dismissed without costs or attorney's fees, save that

    this District Court shall retain jurisdiction over the Action, including without limitation, over

    implementation of, or disputes arising out of, this Stipulated Dismissal or the settlement of the

    Action.

    MORRIS, NICHOLS, ARSHT & TUNNELL LLP              YOlJNGCONAWAYSTARGATT&TAYLOR,LLP

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  August 9, 2018

         SO ORDERED this     {D   dayof-¥.2018.



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